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The following constitutes the ruling of the court and has the force and effect therein described.




Signed January 24, 2022
______________________________________________________________________



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


      HIGHLAND CAPITAL MANAGEMENT, L.P.,

             Plaintiff,
                                                           Adv. Proc. No. 21-03003
      vs.

      JAMES DONDERO, NANCY DONDERO, AND
      THE DUGABOY INVESTMENT TRUST,

             Defendants.


      HIGHLAND CAPITAL MANAGEMENT, L.P.,

                              Plaintiff,

      vs.
                                                           Adv. Proc. No. 21-03004-sgj
      HIGHLAND CAPITAL MANAGEMENT FUND
      ADVISORS, L.P.,


                              Defendant.




     ORDER GRANTING AMENDED AGREED EMERGENCY MOTION FOR LEAVE TO
     EXCEED PAGE LIMIT FOR DEFENDANTS’ RESPONSE TO PLAINTIFF’S
     MOTION FOR PARTIAL SUMMARY JUDGMENT                                                       PAGE 1
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   HIGHLAND CAPITAL MANAGEMENT, L.P.,

          Plaintiff,

   vs.                                                  Adv. Proc. No. 21-03005

   NEXPOINT ADVISORS, L.P., JAMES DONDERO,
   NANCY DONDERO, AND THE DUGABOY
   INVESTMENT TRUST,

          Defendants.


   HIGHLAND CAPITAL MANAGEMENT, L.P.,

          Plaintiff,

   vs.                                                  Adv. Proc. No. 21-03006

   HIGHLAND CAPITAL MANAGEMENT SERVICES,
   INC., JAMES DONDERO, NANCY DONDERO, AND
   THE DUGABOY INVESTMENT TRUST,

          Defendants.


   HIGHLAND CAPITAL MANAGEMENT, L.P.,

          Plaintiff,

   vs.
                                                        Adv. Proc. No. 21-03007
   HCRE PARTNERS, LLC (n/k/a NexPoint Real Estate
   Partners, LLC), JAMES DONDERO, NANCY
   DONDERO, AND THE DUGABOY INVESTMENT
   TRUST,

          Defendants.


  ORDER GRANTING AMENDED AGREED EMERGENCY MOTION FOR LEAVE TO
  EXCEED PAGE LIMIT FOR DEFENDANTS' RESPONSE TO PLAINTIFF'S MOTION
                  FOR PARTIAL SUMMARY JUDGMENT
         On this date, the Court considered the Amended Agreed Emergency Motion for Leave to

  Exceed Page Limit for Defendants’ Response to Plaintiff’s Motion for Partial Summary Judgment




  ORDER GRANTING AMENDED AGREED EMERGENCY MOTION FOR LEAVE TO
  EXCEED PAGE LIMIT FOR DEFENDANTS’ RESPONSE TO PLAINTIFF’S
  MOTION FOR PARTIAL SUMMARY JUDGMENT                                                    PAGE 2
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  (the “Motion”) 1 filed by the Defendants in each of the above-captioned adversary proceedings on

  January 20, 2022. Upon consideration of the Motion, and the fact that Plaintiff Highland Capital

  Management, L.P. (“Plaintiff”) is unopposed to the Motion, the Court finds that the Motion is well

  taken and should be granted. Accordingly, the Court finds that just cause exists for entry of the

  following order. It is therefore

          ORDERED that the Motion is GRANTED as set forth herein. It is further
          ORDERED that the Defendants’ brief in support of their response to Plaintiff’s Motion

  for Partial Summary Judgment may exceed the page limit mandated by L.B.R. 7056-1(e)(2) by no

  more than five (5) additional pages.

                                            ###END OF ORDER###




  1
   The relief requested in the Motion was amended by Defendants pursuant to an agreement with the Plaintiff that was
  announced to the Court by email dated January 20, 2022. Defendants thereafter filed an amended motion with this
  Court indicating that they seek only to exceed the summary judgment brief page limit by five (5) pages.

  ORDER GRANTING AMENDED AGREED EMERGENCY MOTION FOR LEAVE TO
  EXCEED PAGE LIMIT FOR DEFENDANTS’ RESPONSE TO PLAINTIFF’S
  MOTION FOR PARTIAL SUMMARY JUDGMENT                                                                       PAGE 3
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                                                               United States Bankruptcy Court
                                                                 Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                         Adv. Proc. No. 21-03007-sgj
HCRE Partners, LLC (n/k/a NexPoint Real,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                   User: admin                                                                 Page 1 of 2
Date Rcvd: Jan 24, 2022                                                Form ID: pdf001                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 26, 2022:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                      Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                         Jan 24 2022 21:28:00      United States Trustee, 1100 Commerce Street,
                                                                                                                   Room 976, Dallas, TX 75242-0996

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 26, 2022                                            Signature:            /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 24, 2022 at the address(es) listed
below:
Name                               Email Address
Bryan C. Assink
                                   on behalf of Defendant James Dondero bryan.assink@bondsellis.com

Deborah Rose Deitsch-Perez
                                   on behalf of Defendant The Dugaboy Investment Trust deborah.deitschperez@stinson.com
                                   patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                                   on behalf of Defendant Nancy Dondero deborah.deitschperez@stinson.com
                                   patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                                   on behalf of Defendant James Dondero deborah.deitschperez@stinson.com
           Case 21-03007-sgj Doc 156 Filed 01/26/22                          Entered 01/26/22 23:18:32                       Page 5 of 5
District/off: 0539-3                                          User: admin                                                           Page 2 of 2
Date Rcvd: Jan 24, 2022                                       Form ID: pdf001                                                      Total Noticed: 1
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant HCRE Partners LLC (n/k/a NexPoint Real Estate Partners, LLC) deborah.deitschperez@stinson.com,
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

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                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

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                             dhepting@hellerdraper.com;vgamble@hellerdraper.com

Juliana Hoffman
                             on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                             txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Leslie A. Collins
                             on behalf of Defendant The Dugaboy Investment Trust lcollins@hellerdraper.com

Matthew A. Clemente
                             on behalf of Creditor Committee Official Committee of Unsecured Creditors mclemente@sidley.com
                             matthew-clemente-8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwom
                             ey@sidley.com

Melissa S. Hayward
                             on behalf of Plaintiff Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Michael P. Aigen
                             on behalf of Defendant Nancy Dondero michael.aigen@stinson.com stephanie.gratt@stinson.com

Michael P. Aigen
                             on behalf of Defendant HCRE Partners LLC (n/k/a NexPoint Real Estate Partners, LLC) michael.aigen@stinson.com,
                             stephanie.gratt@stinson.com

Michael P. Aigen
                             on behalf of Defendant James Dondero michael.aigen@stinson.com stephanie.gratt@stinson.com

Paige Holden Montgomery
                             on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
                             txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                             ce@sidley.com

Zachery Z. Annable
                             on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 16
